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 4

 5                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 6

 7

 8   TOM      MONTGOMERY           as    Personal    NO. ________________
     Representative of the Estate of MICHAEL
 9   TRAVIS CLINARD, deceased; JENNIFER              COMPLAINT
     MONTGOMERY; T.C., by and through
10   guardian ad litem Michael B. Smith; Z.C., by
     and through guardian ad litem Michael B.
11   Smith; A.C. by and through guardian ad litem
     Michael B. Smith,
12
     Plaintiffs,
13
     v.
14
     KING COUNTY, a political subdivision of the
15   State of Washington, TODD CLARK, in his
     personal capacity; JOHN DIAZ, in his personal
16   capacity; HIKARI (KARI) TAMURA, in her
     personal capacity; MYRON ALLEN, in his
17   personal capacity; DANOTRA MCBRIDE, in
     her individual capacity; STEWART HANNEY,
18   in his personal capacity; CATHERINE
     HOMER, in her personal capacity; BENJAMIN
19   SANDERS, in his personal capacity; LISA
     PETERSON, in her personal capacity;
20   SUEANNE BRENT, in her personal capacity;
     MICHAEL KILBOURNE, in his personal
21   capacity; JOHN DOE 1 (“OCAMPO”), in
     his/her personal capacity; JANE DOE 2
22   (“REBECCA”), in her personal capacity; JOHN
     and JANE DOES 3-10, in their personal
23   capacities,

24   Defendants.

25
     COMPLAINT - 1                                                 Galanda Broadman PLLC
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                                                                   Seattle, WA 98115
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 1           COMES NOW the above-named Plaintiffs, by and through attorneys Gabriel S. Galanda

 2   and Ryan D. Dreveskracht, of Galanda Broadman, PLLC, and by way of claim alleges upon

 3   personal knowledge as to themselves and their own actions, and upon information and belief upon

 4   all other matters, as follows:

 5                                          I.       INTRODUCTION

 6           1.      Suicide has been the leading cause of death in prisons every year since 2000.1 This

 7   risk is disproportionately high among inmates who are mentally ill. And mentally ill inmates are a

 8   demographic that has risen dramatically in recent years,2 representing what many researchers have

 9   deemed “a national public health crisis.” 3 These are facts that are well known to reasonable

10   corrections management, staff, and healthcare providers.4

11           2.      It is also well known that this crisis is not insurmountable. Utilizing knowledge of

12   the factors that put inmates at an increased risk of suicide, reasonable corrections administrators

13   formulate mental health and suicide prevention policies that target these dynamics. And if adequate

14   supervision and training is implemented, it is more likely than not that corrections staff can prevent

15   a majority of these suicides.

16           3.      Here, though, none of that happened. Defendant King County and its administrators

17   maintained and established inadequate practices and failed to train and supervise its employees. As

18   a result, numerous inmates have died. During Michael T. Clinard’s detainment at the Jail there

19   were multiple exchanges where his serious mental illness and suicidality was known, or should

20   have been known, and where appropriate treatment and interventions should have occurred, but did

21   not. Defendants’ acts and omissions set into motion a particularly unfortunate series of events that

22
     1
       MARGARET NOONAN, HARLEY ROHLOFF, AND SCOTT GINDER, U.S. DEP’T OF JUSTICE – BUREAU OF JUSTICE
23   STATISTICS, MORTALITY IN LOCAL JAILS AND STATE PRISONS 1 (2015).
     2
       E. FULLER TORREY, ET AL., THE TREATMENT OF PERSONS WITH MENTAL ILLNESS IN PRISONS AND JAILS 17 (2014).
24   3
       Jacques Baillargeon, Psychiatric Disorders and Repeat Incarcerations, 166 AM. J. PSYCHIATRY 103, 103 (2009).
     4
       WORLD HEALTH ORGANIZATION, PREVENTING SUICIDE IN JAILS AND PRISONS (2007); Anasseril E. Daniel, Care of
25   the Mentally Ill in Prisons, 35 J. AM. ACAD. PSYCHIATRY LAW 406 (2007).
     COMPLAINT - 2                                                                       Galanda Broadman PLLC
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 1   resulted in Michael’s death—what might glibly be referred to as a “comedy of errors” had it not

 2   involved such a tragedy.

 3                                            II.     PARTIES

 4          4.       TOM MONTGOMERY is the Personal Representative for the Estate of MICHAEL

 5   TRAVIS CLINARD. This is an action arising from Michael’s wrongful and unnecessary death and

 6   the Defendants’ negligence, gross negligence, and deliberate indifference to Michael’s serious

 7   medical condition and conditions of confinement. The claims herein include all claims for damages

 8   available under Washington and federal law to Michael, his Estate, and all statutory and actual

 9   beneficiaries, including his spouse and minor children.

10          5.       JENNIFER MONTGOMERY is Michael’s spouse. She brings suit in her Personal

11   Capacity and is entitled to damages for the loss of her husband.

12          6.       T.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

13   She brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

14          7.       Z.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

15   She brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

16          8.       A.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

17   He brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

18          9.       Defendant KING COUNTY is a municipal corporation responsible for

19   administering the Department of Adult and Juvenile Detention (“DAJD”), which operates two adult

20   detention facilities: the Maleng Regional Justice Center in Kent and the King County Correctional

21   Facility (“Jail”) in downtown Seattle. The Jail is an adult corrections facility responsible for

22   providing proper custody, control, and supervision for county, state, and federal inmates in King

23   County. King County is also responsible for providing a safe and healthy environment for detainees

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 1   and inmates within its custody at the Jail, including appropriate and necessary protection measures

 2   and medical and mental health care.

 3          10.      Defendant TODD CLARK is King County’s DAJD Corrections Major.                         He

 4   supervised, administrated, and managed all King County employees and corrections facilities at the

 5   time of Michael’s injuries, and was responsible for ensuring the presence and implementation of

 6   proper policies, procedures, and training. Defendant Clark was also responsible for the training,

 7   supervision, and discipline of King County employees and/or agents, including the below

 8   individually named Defendants and Does 2 through 10. He is sued in his personal capacity only.

 9          11.      Defendant JOHN DIAZ is King County’s DAJD Director.                 He supervised,

10   administrated, and managed all King County employees and corrections facilities at the time of

11   Michael’s injuries, and was responsible for ensuring the presence and implementation of proper

12   policies, procedures, and training.    Defendant Diaz was also responsible for the training,

13   supervision, and discipline of King County employees and/or agents, including the below

14   individually named Defendants and Does 1 through 10. He is sued in his personal capacity only.

15          12.      Defendant HIKARI (KARI) TAMURA is King County’s DAJD Deputy Director.

16   She supervised, administrated, and managed all King County employees and corrections facilities

17   at the time of Michael’s injuries, and was responsible for ensuring the presence and implementation

18   of proper policies, procedures, and training. Defendant Tamura was also responsible for the

19   training, supervision, and discipline of King County employees and/or agents, including the below

20   individually named Defendants and Does 2 through 10. She is sued in her personal capacity only.

21          13.      Defendant DANOTRA MCBRIDE is King County’s Jail Health Services Deputy

22   Division Director. She supervised, administrated, and managed all King County Jail Health

23   Services employees at the time of Michael’s injuries, and was responsible for ensuring the presence

24   and implementation of proper policies, procedures, and training. Defendant McBride was also

25
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 1   responsible for the training, supervision, and discipline of King County Jail Health Services

 2   employees and/or agents, including the below individually named Defendants and Does 2 through

 3   10. She is sued in her personal capacity only.

 4           14.      Defendants CLARK, DIAZ, TAMURA, and MCBRIDE shall hereinafter be

 5   referred to collectively as “Supervisory and Policymaking Defendants.” They were at all times

 6   state actors.

 7           15.      Individually named Defendants MYRON ALLEN, STEWART HANNEY,

 8   CATHERINE HOMER, BENJAMIN SANDERS, LISA PETERSON, MICHAEL KILBOURNE,

 9   and SUEANNE BRENT are employees or subcontractors of King County. They were at all times

10   state actors. These Defendants knew that Michael was (1) in the need of medical care; (2) suicidal;

11   (3) in the midst of a mental health crisis; and/or (3) was housed in unconstitutional conditions of

12   confinement. In spite of this knowledge, these Defendants took no steps to prevent serious injury

13   and/or death to Michael. These Defendants were negligent; deliberately indifferent; and/or acted

14   in furtherance of an official and/or de facto policy or procedure of deliberate indifference. These

15   Defendants are sued in their personal capacities only.

16           16.      Defendant JOHN DOE 1 (“OCAMPO”) is an employee of King County with the

17   last name “Ocampo” and whose officer number is 85456. He or she was at all times a state actor.

18   Defendant Ocampo knew that Michael was (1) in the need of medical care; (2) suicidal; and (3) in

19   the midst of a mental health crisis. In spite of this knowledge, Defendant Ocampo took no steps to

20   prevent serious injury and/or death to Michael. Defendant Ocampo was negligent; deliberately

21   indifferent; and acted in furtherance of an official and/or de facto policy or procedure of deliberate

22   indifference. Defendant Ocampo’s full name is unknown. Defendant Ocampo is sued in his or her

23   personal capacity only.

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 1          17.      SNOHOMISH COUNTY is not currently a defendant, but will be sued under

 2   respondeat superior for negligence only, is a municipal corporation responsible for administering

 3   the Snohomish County Jail (“SCJ”), for which Defendant JANE DOE 2 (“REBECCA”) is

 4   employed and at all relevant times was acting in the scope of employment for. Defendant Rebecca

 5   knew that Michael was (1) in the need of medical care; (2) suicidal; and (3) in the midst of a mental

 6   health crisis. In spite of this knowledge, Defendant Rebecca took no steps to prevent serious injury

 7   and/or death to Michael. Defendant Rebecca was negligent and deliberately indifferent. Defendant

 8   Rebecca’s full name is unknown. Defendant Rebecca is sued in her personal capacity only.

 9          18.      Defendants JOHN DOES 3 - 10 (“Defendants Doe”) are subcontractors, employees,

10   and/or agents of Defendants King County, City of Bothell, or Snohomish County.                     These

11   Defendants are persons who knew that Michael was (1) in the need of medical care; (2) suicidal;

12   (3) in the midst of a mental health crisis; and/or (3) was housed in unconstitutional conditions of

13   confinement. In spite of this knowledge, these Defendants took no steps to prevent serious injury

14   and death to Michael. Each Defendant Doe was negligent; deliberately indifferent; acted in

15   furtherance of an official and/or de facto policy or procedure of deliberate indifference; and/or were

16   responsible for the promulgation of the policies and procedures and permitted the customs/practices

17   pursuant to which the acts alleged herein were committed. The identities of Defendants Doe

18   unknown at this time and will be named as discovery progresses. Defendants Doe are sued in their

19   personal capacities only.

20                                III.    JURISDICTION AND VENUE

21          19.      This action arises under Washington State’s wrongful death law and the Constitution

22   and laws of the United States, including 42 U.S.C. § 1983. This Court has subject matter

23   jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the state law claims

24   pursuant to 28 U.S.C. § 1367.

25
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 1             20.      Venue is proper in the Western District of Washington pursuant to 28 U.S.C.§

 2   1391(b)(1) and (b)(2). King County is located in this District, and the events and omissions giving

 3   rise to the claims in this action occurred in this District.

 4             21.      An RCW 4.92.100 Tort Claim was properly and timely filed with the King County

 5   on March 24, 2020. Over sixty calendar days have elapsed since the claim was presented to King

 6   County.

 7             22.      An RCW 4.92.100 Tort Claim was filed with the City of Bothell and Snohomish

 8   County on May 13, 2020. Sixty days will elapse on July 12, 2020, on which date Plaintiffs intend

 9   to file a First Amended Complaint to add the City of Bothell and Snohomish County as Defendants.

10                                                IV.     FACTS

11   A.        BACKGROUND

12             23.      Michael graduated with a Master of Arts degree in photography from the University

13   of Iowa in 2005. Thereafter, he worked as a photographer’s assistant, honing his photography

14   skills.

15             24.      Michael’s big break came in 2010, when he landed a feature in Seattle Met, showing

16   people preforming everyday activities in yoga poses.5

17             25.      Over the next three years, Michael shot a number of stories for Seattle Met, and also

18   began to build a National portfolio. He shot covers for the likes of Fortune 500, Adweek, and

19   Huffington Magazine.          By mid 2013, Michael was an eminent commodity in conceptual

20   photography.

21

22

23

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     5
       Jessica Voelker, Yoga for Life, SEATTLE MET, Dec. 10, 2010, https://www.seattlemet.com/health-and-
25   wellness/2010/12/yoga-for-life-0111.
     COMPLAINT - 7                                                         Galanda Broadman PLLC
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 1           26.      Still, though, Michael’s three children were the lights of his life:

 2

 3

 4

 5

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 7

 8           27.      As Michael told one interviewer:

 9           I’m a photographer, but equally, if not more importantly, I’m a father and husband,
             so there’s that conversation about how to balance a personal life with a professional
10           life. I feel that one’s personal life evolves at a pace that feels sometimes discordant
             or disproportionate to their professional life, and vice versa. In the end, all I can do
11           is what I do: keep being.6

12           28.      Michael was unable to “keep being” on December 3, 2013, when he was violently

13   attacked in Brooklyn, New York, where he was working. The beating left Michael with a broken

14   knee cap and life-threatening traumatic brain injury (“TBI”).

15           29.      Persons experiencing TBI are 65 percent more likely to develop schizophrenia, 59

16   percent more likely to develop depression, and 28 percent more likely to develop bipolar disorder.7

17   And, unfortunately, that is exactly what happened to Michael.

18           30.      Despite coming home and receiving ongoing TBI care from UW Medical Center,

19   Michael’s mental health began to decline. He was eventually diagnosed with post-traumatic stress

20   disorder (“PTSD”), dysthymic disorder (depression), and bipolar disorder—all of which are well-

21   known suicide risk factors, even more so when combined.8

22
     6
       The Magical Mind of Michael Clinard, THIS IS THE WHAT, Jan. 27, 2014, http://www.thisisthewhat.com/2014/01/the-
23   magical-mind-of-michael-clinard.
     7
       Sonja Orlovska, et al., Head Injury as Risk Factor for Psychiatric Disorders, 171 AM. J. PSYCH. 463 (2014).
24   8
       J.M. Carter, et al., Increased Suicidal Ideation in Patients with Co-Occurring Bipolar Disorder and Post-Traumatic
     Stress Disorder, 21 ARCH. SUICIDE RES. 621 (2016); Kate Robert & Suzanne Robbinss, The Relationship Between
25   Post- Traumatic Stress Disorder and Affective Disorder, 23 EMERG. MED. J. 935 (2006)
     COMPLAINT - 8                                                                         Galanda Broadman PLLC
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 1          31.      The manifestation of Michael’s mental illnesses largely took the form of self-

 2   medication and violent mood swings, which is not uncommon. The medical literature provides that

 3   bipolar and PTSD patients are prone to agitation that can result in impulsive aggression during

 4   manic and mixed episodes. Depressed states also involve intense dysphoria with agitation and

 5   irritability, which can also increase the risk of violent behavior.

 6          32.      In February of 2017, Michael’s mental illness got the best of him. In a drunken

 7   stupor he lashed out at his wife, Jennifer. She immediately sought and obtained a temporary

 8   protection order.

 9          33.      Michael went into a tailspin. In the preceding six months Michael—who until that

10   point had no major criminal history—was charged with a DUI, reckless driving, and violating

11   Jennifer’s protective order.

12          34.      Much of this erratic behavior was self-harming. On March 22, 2017, for instance,

13   Michael drove his car into a tree. In transport to the hospital, Michael told paramedics that he

14   intended “to ‘end it all’ and hopes to commit suicide in the hospital.” Once at the hospital, though,

15   Michal was given his prescribed medication (haloperidol and lorazepam), which brought him out

16   of his mental health crisis. Michael had been on lorazepam since November of 2014.

17          35.      Jennifer’s hope was that this involvement in the legal system would provide Michael

18   with the mental healthcare he needed. By all accounts, including hers, Michael was a good husband

19   and loved his children more than anything in the world. This was just a rough patch.

20          36.      A violation of Jennifer’s protective order landed Michael before Bothell Municipal

21   Court Judge Michelle Gehlsen on June 12, 2017.

22

23

24

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                    2:12
         1       I'm going
                       37. to layThe
                                  down by swamp creek.
                                      “violation”         Tell myofkids
                                                     consisted          I was decent
                                                                     leaving         sometimes
                                                                               a voicemail  onbut   by and large
                                                                                                Jennifer’s       I guess
                                                                                                              phone,     a piece
                                                                                                                        described   a
                 of shit. You were the best ever; I'm sorry to Fahd wasted 11-12 years of your life. You were the first and the
                 last. Glad I came through.
         2     Bothell
                 END OF Police
                           EMAIL Officer
                                  COPY as follows:

         3          I listened to the voice mail from Clinard forwarded by Montgomery. The message starts with a male
                    stating, "Hey it's me. I'm sorry I texted you or whatever, and I'm calling you right now." The male goes
         4          on to say something about being stabbed in the heart. The male begins crying and cries for much of the
                    remaining time in the message. At one point the male states, "Please Jenna I can't do it and I won't."
         5          The male states, "call me" before hanging up the phone. The message lasted for 1 minute and 19
                    seconds.
         6                 38.    Consistent with the despair expressed in the voicemail—described by Judge Gehlsen
                    Due to the text message left at 0212 hours (see above), Montgomery made contact with Kenmore Police
         7     as   (King County Sheriff). Montgomery was concerned about Clinard being suicidal. Montgomery told me
                    an “ask for help”—at his pretrial detention hearing Michael, in the obvious midst of a mental
                    Kenmore PD attempted to contact Clinard around 1000 hours on 02/23/17. Clinard was not contacted at
         8          that time.
               health crisis, informed the Court and everyone in attendance that he intended to commit suicide in
         9        Montgomery agreed to respond to the PD to complete a written statement. Montgomery told me she
               custody. Taken into custody on a $50,000 bail, Michael yelled at Judge Gehlsen, “I won’t live that
                    would respond to the PD around 1630 hours.
       10      long. I don’t intend to live past another two weeks! You just signed my death certificate!”
                    I reviewed Temporary Order for Protection and Notice of Hearing No. 17-2-03740-1 SEAIssued out of
       11           King County Superior Court on 02/15/2017. The WACIC record indicates Clinard was personally served
                          39.    The outburst had Michael escorted out of court. On the way out, Michael ostensibly
                    on 02/16/17.
       12      attempted to commit
                  Under Section         suicide-by-cop
                                3, it states "Respondentby
                                                         is trying to head-butt
                                                            restrained          thenear
                                                                       from coming  security officerany
                                                                                        and having    ushering
                                                                                                        contact him out of
                  whatsoever, in person or through others, by phone, mail, or any means, directly or indirectly, except for
       13      themailing
                   courtroom      and grabbing
                          or service  of processat
                                                of his taser.
                                                   court documents by a 3rd party or contact by the respondent's
                  lawyer(s) ...11
       14                  40.    Obviously concerned for Michael’s wellbeing, Judge Gehlsen took a recess and
                 I searched Clinard's associated phone number of record in TLO (database I frequently use during my
       15        investigations). The phone number returned as being associated to Clinard with a probability of 99%
               upon return, without Michael’s presence:
                 (high likelihood of number being associated to Clinard).
       16                         a. Raised Michael’s bail to $250,000, ensuring that he would remain in the care
                    Montgomery provided the following contact information for Clinard:
       17           6731 NE 182nd St and custody
                                       B101   (The of King 68)
                                                   Spencer  County, unable to follow through with his plan             to commit
                    Kenmore WA 98028
                    (206) 372-7409
                                     suicide; and
       18
                    ASSOCIATEDVEHICLE: Green 2001 Volkswagen Jetta station wagon -WA plate 832XSP.
                                  b. Recognized that there was an obviously “severe mental health component” to
       19
                    I advised Sergeanthis   behavior
                                        Nguyen   of myand  ordered Michael
                                                       investigation,          to undergo
                                                                      and notified him I hadaprobable
                                                                                              King County
                                                                                                       cause todesignated   mental
                                                                                                                 arrest Clinard
                    for 3 counts of Violation of a Protection Order (RCW 26.50.110). I advised Sergeant Nguyen that
       20                              health
                    Montgomery advised      sheprofessional
                                               would respond(“DMHP”)
                                                                to the PD atevaluation
                                                                             1630 hourswhile   in custody,
                                                                                         to complete          finding
                                                                                                      a written        that he met
                                                                                                                 statement.

       21                             the “present[ing] an imminent likelihood of serious harm” criteria of RCW
                    I printed the email from Montgomery and submitted it with the case. I made 2 copies of the voice mail
                                      71.05.into evidence, 1 for working copy with the case.) I completed a Criminal Citation
                    from Clinard (1 entered
       22
                    and Snohomish
                          41.       County
                                  The       Superform
                                        Judge          which
                                               Gehlsen’s      was provided
                                                          colloquy         to Sergeant
                                                                      with counsel      Nguyen with
                                                                                     regarding       the case.
                                                                                                 Michael’s  “present[ing] an
       23
               imminent likelihood of serious harm” to himself is haunting:
       24
                           Defense Counsel: Will you be requesting a mental health evaluation at this time?
       25
               COMPLAINT - 10                                                                      Galanda Broadman PLLC
                                                                                                   8606 35th Avenue NE, Ste. L1
Page: 3 of 5                                                                                       Mailing: P.O. Box 15146
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 1         Court: I could, but I don’t – Every time I have done a mental health while they’re
           in custody they won’t do anything because they’re not a harm to themselves or
 2         others, because they’re in custody. . . .
           Defense Counsel: He did make that statement regarding –
 3
           Court: Suicide.
 4         Defense Counsel: Yeah. He wasn’t gonna last two weeks. That, that could qualify.
 5         Court: Alright. Then I’ll have a DMHP evaluate him, um, while he’s in custody. .
           . . What I’m trying to, counsel, is – is – have the Designated Mental Health Provider
 6         come in evaluate him now. How do we accomplish that? Do you know Madam
           Prosecutor? Or would the jail request?
 7         Prosecutor: I don’t know how – specifically how it works – I know that – I
           understand your issue with holding him and asking for it, except for his – the
 8         specificity of his statements, knowing he was going to be in custody, and I think
           that it would be naïve of us to not recognize that people have in fact committed
 9         suicide in jail. Um, but, if it – it does seem to be something that you should be able
           to request, not just prior to release but in general. . . .
10
           Court: What I’ll just do is I’ll have Madam Clerk contact, uh – Was he taken to
11         Snohomish County or to King County, do you know?
           Prosecutor: I’m guessing King County.
12
           Defense Counsel: No, he – well – they told me Snohomish.
13         Court: So then we’ll contact Snohomish County Jail and see if they, um, are having
           a DMHP come – I, I mean I will order it – and then – based on the statements that
14         he made.

15         42.    This was accomplished on the Order Setting Conditions of Release:
16

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     COMPLAINT - 11                                                          Galanda Broadman PLLC
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TEXT - Continued
  U 06/12/2017 R.       CaseGIGER,      FOR THE CITYDocument 1 Filed 06/04/20 Page 12 of 35
                                2:20-cv-00855-TL                                                                            DMS
                      DEF IS NOT PRESENT
                      ATD A. GARICK PRESENT
                      COURT NOTES PREVIOUS ACTIONS OF DEF THIS DAY
       1           43.        At the time, Michael was being detained in the SCJ. Court records indicate that
                      COURT ORDERS BAIL SET TO $250,000
                      COURT NOTES WILL ORDER MHP REVIEW IN CUSTODY
       2 Judge Gehlsen’s
                      0105 - Order COURT  forADDRESS
                                              a DMHP evaluation
                                                           RECUSING was    sentFOR
                                                                        SELF    to the SCJ andHEARINGS
                                                                                     FUTURE        that Defendant
                                                                                                               IF Rebecca
                      PARTIES WISH
       3 was expressly106 -   advised   of Michael’sTIME
                                 ATD REQUESTS            suicidal
                                                               TOoutburst:
                                                                    NOTIFY COURT
 DD7020SX CHT 106 - CITY DOES                     NOT MUNICIPAL
                                            BOTHELL      OBJECT TO COURTTHIS COURT FOR FUTURE HEARINGS     PAGE:           3
       4
 04/20/2020       8:57AMENDED
                           AM       ORDER     SETTING  D  O BAIL/CONDITIONS
                                                             C  K  E  T            OF  RELEASE        FAXED    TO
                      SCJ - PHONE CALL TO REBECCA AT SNOCO JAIL TO                            ADVISE AMENDED
                                                                                          CASE:            31095 BOP
 DEFENDANT
       5              COMMITMENT          AND   COURTS      ORDER    FOR  DMHP    -  DEF   WAS
                                                                                          CriminalMAKING Non-Traffic
    CLINARD, MICHAEL  SUICIDAL TRAVIS STATEMENTS IN COURT                                 Agency No. 17-4668
  S                   JTR KINGN Rescheduled to 08/09/2017 08:30 AM
 TEXT 6- Continued    in Room       1 withwas   Judge      MKG back to the SCJ. He was taken to the King County Jail.
                   44.        But Michael           not taken
    U 06/12/2017 PTR    R. GIGER,
                             KINGN Set  FOR for
                                              THE CITY
                                                     07/18/2017 11:00 AM                                               DMS
       7                DEF    IS  NOT    PRESENT
                      in Room 1 with Judge MKG
  U        Despite having
                        ATD A.
                      ORDER    knowledge
                                   GARICK
                                 FOR         ofPRESENT
                                                Michael’s
                                        SCRAM/GPS        W/ suicidal
                                                             EXCLUSIONoutburst and the
                                                                            ZONES      Judge Gehlsen’s
                                                                                     ATTACHED       (PRIOR  related
                                                                                                               TO Order for
       8                COURT NOTES
                      RELEASE       FROM PREVIOUS
                                             CUSTODY)ACTIONS OF DEF THIS DAY
           DMHP evaluation,
                        COURT        and
                                  ORDERS
                      PER PSO ELSON,       knowing
                                             BAIL
                                                DEFSET that
                                                       WASTO Michael   was
                                                                $250,000
                                                             BOOKED     INTObeing
                                                                               KCJtransferred    to the King
                                                                                     DUE TO PENDING              County Jail,
                                                                                                              FELONY
                        COURT     NOTES     WILL   ORDER     MHP   REVIEW   IN
                      FILINGS - ORDER SETTING BAIL AT $250,000/CONDITIONS FOR   CUSTODY
       9                0105    - COURT      ADDRESS
           Defendant     Rebecca
                      RELEASE        failed to
                                    FAXED     TO      anyRECUSING
                                                passKCJ                SELFREQUEST
                                                           of thisOFFICER
                                                           PER               FOR
                                                                   information     FUTUREat HEARINGS
                                                                               to anyone     the King County IF Jail.
                        PARTIES      WISH
                      *RECORDING MINUTES OF INCIDENT: 1114 / 1118                                                           MPH
  S
      10                106 KINGN:
                      PTR      - ATD REQUESTS
                                          Held         TIME TO NOTIFY COURT                                                 HXL
                   45.106 In   - the
                                  CITYalternative,
                                          DOES    NOTDefendant
                                                         OBJECT    Rebecca
                                                                   TO THISdid  pass this
                                                                             COURT    FORinformation     to the King County
                                                                                            FUTURETOHEARINGS
  U 06/13/2017 AMENDED              ORDER     FOR    DMHP    EVALUATION      SIGNED    - FAXED            DMHP              CNW
      11                AMENDED      ORDER    SETTING       BAIL/CONDITIONS       OF  RELEASE      FAXED     TO
           Jail, but itWITH    DISCOVERY MATERIALS
                         was ignored.
                        SCJ    - PHONE CALL TO REBECCA AT SNOCO JAIL TO ADVISE AMENDED
  S 06/14/2017 17165100005                 Miscellaneous Payment Received                                          1.35 EEP
                        COMMITMENT AND COURTS ORDER FOR DMHP - DEF WAS MAKING
      12                                   for COPY/TAPE FEES
                   46.  SUICIDAL STATEMENTS
                                       records also IN       COURTthat Bothell Police Support Officer David Elson
  U                   FILE Court
                               IN CURRENT                indicate                                                           MPH
    S                   JTR KINGN Rescheduled to 08/09/2017 08:30 AM
  S 06/19/2017
      13              PCN    added      to   case                                                                           CHT
                        in Room 1 with Judge MKG
           informedFILED
  U 06/20/2017          the Bothell
                                 DMHP  Municipal
                                          REPORT     Court that Michael was being booked into the King CountyDMS             Jail
                        PTR KINGN Set for 07/18/2017 11:00 AM
     07/07/2017 NOTICE             OF   WITHDRAWAL         AND   SUBSTITUTION      FILED                                    MPH
      14                in Room 1 with Judge MKG
  SU       instead ofATYORDER2 LUFKIN,
                        the SCJ.    Judge
                                  FOR         JOHN LUCKY
                                            Gehlsen’s
                                        SCRAM/GPS        Order
                                                         W/      Added Conditions
                                                                Setting
                                                             EXCLUSION   as  Participant
                                                                           ZONES    of Release (PRIOR
                                                                                   ATTACHED      was then TO faxed to the Jail:
                      on    07/07/2017
                        RELEASE      FROM    CUSTODY)
      15              ATY
                        PER 1PSO GARICK,
                                     ELSON,ALEXEI
                                                DEF WASCONRADBOOKED INTORemoved
                                                                             KCJ DUE on  TO 07/07/2017
                                                                                             PENDING FELONY
  U                   NOTICE
                        FILINGSOF- APPEARANCE
                                        ORDER SETTING      ANDBAIL
                                                                 DEMAND   FOR DISCOVERY FILEDFOR
                                                                      AT $250,000/CONDITIONS
      16
     07/13/2017       DEF'S
                        RELEASE  SENTINEL
                                     FAXED TO   HOME
                                                   KCJ DETENTION
                                                          PER OFFICER   MONITORING
                                                                           REQUEST ANKLE BRACELET
                      DELIVERED
                        *RECORDINGTOMINUTES  COURT OF  BY INCIDENT:
                                                            PSO ELSON.1114  CLERK    CONTACTED MOON
                                                                                / 1118                                 MPH
    S 17              SECURITY
                        PTR           ANDHeldWAS REFERRED TO CONTACT SENTINEL MONITORING.
                   47.        The next day, June 13, 2017, Judge Gehlsen issued a second Order for HXL
                               KINGN:                                                                                   DMHP
    U 06/13/2017 SENTINEL
                        AMENDED ORDER MONITORING
                                              FOR DMHP   CONTACTED
                                                             EVALUATION - WILL
                                                                            SIGNEDFORWARD
                                                                                      - FAXED INFO TO TODMHP           CNW
      18 Evaluation:  APPROPRIATE
                        WITH DISCOVERY     STAFF     TO ARRANGE PICK UP OR SHIP-BACK OF THE
                                                MATERIALS
    S 06/14/2017      BRACELET
                        17165100005   TO THE      AGENCY. (800-589-6003).
                                            Miscellaneous         Payment Received                              1.35 EEP
     07/17/2017 ATD LUFKIN CALLS                   WILL APPEAR
                                            for COPY/TAPE         FEES7/18/17 830AM TO REQUEST ON                           EEP
    U
      19              RECORD
                        FILE INCASE        BE DISMISSED - REQUEST AND GIVEN PROSECUTOR INFOMPH
                                     CURRENT
    S07/18/2017
       06/19/2017 0900         JUDGE to
                        PCN added         GEHLSEN
                                             case PRESIDING                                                            CHTMPH
    U 20
       06/20/2017 RULE  FILED9 DMHPERICKSON
                                          REPORT  PRESENT FOR THE CITY                                                 DMS
       07/07/2017 COUNSEL
                        NOTICE OF       WITHDRAWAL        AND   SUBSTITUTION      FILED
                                    LUFKIN PRESENT, INFORMS THE COURT DEF IS DECEASED                                  MPH
    S 21                ATY 2FILES
                      CITY        LUFKIN,     JOHN TO
                                          MOTION       LUCKY    Added- as
                                                           DISMISS          Participant
                                                                         GRANTED
                        on 07/07/2017
Docket22 continuedATY     on 1nextGARICK,
                                        page ALEXEI CONRAD                 Removed on 07/07/2017
    U                   NOTICE OF APPEARANCE AND DEMAND FOR DISCOVERY FILED
       07/13/2017 DEF'S SENTINEL HOME DETENTION MONITORING ANKLE BRACELET
      23                DELIVERED TO COURT BY PSO ELSON. CLERK CONTACTED MOON
                        SECURITY AND WAS REFERRED TO CONTACT SENTINEL MONITORING.
      24                SENTINEL MONITORING CONTACTED - WILL FORWARD INFO TO
                        APPROPRIATE STAFF TO ARRANGE PICK UP OR SHIP-BACK OF THE
      25                BRACELET TO THE AGENCY. (800-589-6003).
           COMPLAINT
       07/17/2017       ATD- 12LUFKIN CALLS WILL APPEAR 7/18/17 830AM TO REQUEST                           ON
                                                                                               Galanda Broadman    PLLCEEP
                        RECORD CASE BE DISMISSED - REQUEST AND GIVEN PROSECUTOR                8606 35th Avenue  NE, Ste. L1
                                                                                                              INFO
       07/18/2017 0900 JUDGE GEHLSEN PRESIDING                                                 Mailing: P.O. Box 15146 MPH
                                                                                               Seattle, WA 98115
                        RULE 9 ERICKSON PRESENT FOR THE CITY
                                                                                               (206) 557-7509
                        COUNSEL LUFKIN PRESENT, INFORMS THE COURT DEF IS DECEASED
                               COMMITMENT AND COURTS ORDER FOR DMHP - DEF WAS MAKING
                               SUICIDAL STATEMENTS IN COURT
          S    Case 2:20-cv-00855-TL
                               JTR KINGN Rescheduled                   Document                to 108/09/2017
                                                                                                         Filed 06/04/20       08:30 Page        AM          13 of 35
             Patient Information
                               in Room(continued)    1 with JudgeKING                        MKGHEALTH                                        Clinard, Michael Travis
                               PTR KINGN SetScanned                  for 07/18/2017  INFORMATION                                              MRN: 970463351
             Order-Level Encounter/Order                                                 Documents11:00      -06/12/2017:AM             _(~~~~~ed ) _
                               in Room 1 with Judge MKG                              MANAGEMENT                  SERVICES
 1        U 48.       CourtORDER   recordsFOR       indicate
                                                         SCRAM/GPS        that the      W/ Bothell
                                                                                     DEPARTMENT  EXCLUSION  Municipal
                                                                                                                  ZONES Court          ATTACHED      faxed(PRIOR   Judge TO   Gehlsen’s
                               RELEASE FROM CUSTODY)                                401 5th Avenue, Suite 1300
                                                                     •Date{TjnieStamp.Here
                                                                                     Seattle          WA
                                                                                                                      WKingCc,unty
 2   Order for DMHP Deferral   PER
                            Evaluation
                                  Screening  PSO and ELSON,  related     DEFmaterials
                                                                                   WAS           BOOKEDto 98104
                                                                                                          KingINTO       KCJ
                                                                                                                  County’s             DUE
                                                                                                                                 Department       TO:i~~·1U~n-~e-_[kt~t_iDn
                                                                                                                                            Department
                                                                                                                                            tl_rAdU1t     PENDING            FELONY
                                                                                                                                                                       of Community
                               FILINGS - ORDER SETTING BAIL AT $250,000/CONDITIONS FOR
                               RELEASE FAXED TO KCJ PER OFFICER REQUEST                                                                           Sc;attlc:.EIT<cnt  0
 3   Human Services:           *RECORDING
             Patient Information                  (continued)MINUTES OF INCIDENT: 1114 / 1118                                                                                        MPH
          S                    PTR KINGN: Held                                                                                                            Side                       HXL
             Order-Level Encounter/Order
          U 06/13/2017         AMENDED               ORDERScanned   FOR          DMHP     Documents
                                                                                                 EVALUATION  -06/12/2017:
                                                                                                                   .. SIGNED
                                                                                                                                        _(.~-~~~~ed
                                                                                                                                •· Uncooperati>'e/Comliative
                                                                                                                                                . FAXED TO DMHP
                                                                                                                                                                ) O_                 CNW
 4                                     ....   .,    ,.   '''"   .,    .....
                                                                     .,   """"     ..........
                                                                                     "'"'         ...
                                                                                                 '''     ,   ..
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                               WITH
                                . If ,;/1irdedDISCOVERY
                                               que'stions are checked,   MATERIALS
                                                                              c~nrpleleform tl,en col/RNinrn,ediatelyjorpositive respo,m,s.
                   • 08SERVATJQNS:
          S 06/14/2017         17165100005    checkalllhata Miscellaneous
                                                               l                                       Payment Received                                                         1.35 EEP
 5                  .                                    0.. Obse~ble
                                                              for              Pain Stamp.Here
                                                                          .. COPY/TAPE
                                                                 .,. •Date{Tjnie                       FEES           WKingCc,unty
     B. U INTAKEDeferral
                       , SCREENING            IN, AND        HEALTHCARE0Whcdclinir
                                                                                 ,           '



                      DSorcs      Screening
                               FILE    ·             CURRENT
                                                         DBrea1hingDifficulties                                                  Department          :i~~·1U~n-~e-_[kt~t_iDn
                                                                                                                                             tl_rAdU1t                               MPH
          S 06/19/2017[] Gro~y PCN•Cladded   Voniiting D         caseup B.Iood D Yellow Ey(!!;
                                                         toCoughing                                                                                                                  CHT
 6                    D                                                                                                                                              0
            49.
          U 06/20/2017Just    one
                               FILED
                         Severely
                                           hourfrn1iio11af.Beliavior
                                   Agitated/ DMHP
                                                    afterREPORTMichael’s  •
                                                                                              suicidal outburst, Defendant                                Ocampo,
                                                                                                                                                  Sc;attlc:.EIT<cnt
                                                                                                                                                                             who is not
                                                                                                                                                                                     DMS
            07/07/2017 NOTICE OF WITHDRAWAL AND SUBSTITUTION FILED                                                                                                                   MPH
                                                                                                                                                          Side
 7        S                    ATY 2 LUFKIN, JOHN LUCKY Added as Participant                                                    •· Uncooperati>'e/Comliative O
     health trained, filledonout              Michael’s
                                          07/07/2017
                                        ....  .,    ,.   '''"   .,    Deferral
                                                                      .....
                                                                     .,   """"     .......... Screening
                                                                                     "'"'         ...
                                                                                                 '''     ,   .. at ..the
                                                                                                              ''   ''  ........ King
                                                                                                                         "''   ,    ...
                                                                                                                                     ,.  .,   , . County Jail, making the
                                                                                                                                                  ',



                                . If ,;/1irdedque'stions are checked, c~nrpleleform tl,en col/RNinrn,ediatelyjorpositive respo,m,s.
                               ATY 1 checkalllhata
                                                GARICK,l ALEXEI CONRAD                                            Removed on 07/07/2017
 8        U
                   • 08SERVATJQNS:
                               NOTICE             OF 0   APPEARANCE                          AND DEMANDsections: FOR DISCOVERY FILED
     following  notations
                    .         on      the Mental             Health
                                                             Obse~ble           and
                                                                               Pain         Comments
            07/13/2017DSorcs
                               DEF'S   ·
                                                SENTINEL  ..     .,.
                                                                         HOME
                                                                           ..
                                                         DBrea1hingDifficulties
                                                                                 ,

                                                                                        DETENTION
                                                                                             '



                                                                                                0Whcdclinir
                                                                                                             MONITORING ANKLE BRACELET
 9                    [] Gro~y
                               DELIVERED TO COURT BY PSO ELSON. CLERK CONTACTED MOON
                                       •ClVoniiting D Coughing up B.Iood                        D Yellow Ey(!!;
                               SECURITY
                      D Severely                       AND WAS REFERRED TO CONTACT SENTINEL MONITORING.
                                   Agitated/ frn1iio11af.Beliavior•
                               SENTINEL MONITORING CONTACTED - WILL FORWARD INFO TO
10                             APPROPRIATE STAFF TO ARRANGE PICK UP OR SHIP-BACK OF THE
                               BRACELET TO THE AGENCY. (800-589-6003).
11          07/17/2017 ATD LUFKIN CALLS WILL APPEAR 7/18/17 830AM TO REQUEST ON                                                                                                      EEP
                               RECORD CASE BE DISMISSED - REQUEST AND GIVEN PROSECUTOR INFO
            07/18/2017 0900 JUDGE GEHLSEN PRESIDING                                                                                                                                  MPH
12                             RULE 9 ERICKSON PRESENT FOR THE CITY
                               COUNSEL LUFKIN PRESENT, INFORMS THE COURT DEF IS DECEASED
13          50.       In doing CITYso,        FILES
                                                 Defendant   MOTION              TO DISMISS
                                                                              Ocampo                ignored - GRANTED
                                                                                                                information passed to him by Bothell
         Docket continued on next page
14   Officer Erik Martin, who explicitly informed Defendant Ocampo that Michael had made “suicidal

15   statements/threats”9 just one hour earlier:

16

17

18

19

20                51.          Despite explicit notice of Michael’s violent outburst, Judge Gehlsen’s Order, and
                  Patient Demographics
                       Patient Name                                                         MRN        Sex         DOB             Address                                   Phone
21   Michael’s obviously compromised mental state, Defendant Ocampo ignored this information.
                  Printed at King County Health Department [206-263-8247]                                                                                                                  Page
22                52.          King County has been on notice for over a decade that its “fail[ure] to adequately

23   train and supervise intake staff” has resulted in “serious lapses and delays in treatment during its
                  Patient Demographics
24                     Patient Name                                                         MRN        Sex         DOB             Address                                    Phone
     9
25    Declaration of Erik
             Printed      Martin
                     at King     (attached).
                             County    Health Department [206-263-8247]                                                                                                                    Page
     COMPLAINT - 13                                                                                                                                    Galanda Broadman PLLC
                                                                                                                                                       8606 35th Avenue NE, Ste. L1
                                                                                                                                                       Mailing: P.O. Box 15146
                                                                                                                                                       Seattle, WA 98115
                                                                                                                                                       (206) 557-7509
                Case 2:20-cv-00855-TL Document 1 Filed 06/04/20 Page 14 of 35


 1   intake process” and that these gaps “prevent inmates from receiving adequate treatment for acute

 2   or chronic medical needs, placing them at risk of serious harm.”10

 3          53.     Yet that is exactly what happened here. The information regarding Michael’s

 4   suicidality, suicidal outburst, and mental health crisis was entirely ignored throughout the intake

 5   process and, in turn, the remainder of his stay at the Jail.

 6          54.     After the Deferral Screening was completed, an examination was completed by

 7   Defendants Stewart Hanney, RN; Catherine Homer, LPN; and Benjamin Sanders, MD—none of

 8   whom are mental health providers, and none of whom took any interest in the documentation of

 9   Michael’s suicidality earlier that day. It was in Michael’s medical chart, and in at least two court

10   orders finding that Michael met the “harm to self or others” requirement of RCW 71.05, but it was

11   ignored.

12          55.     The next day, June 13, 2017, Defendant Homer discovered that Michael’s treating

13   psychiatrist, Dr. Sang Suh, had prescribed him a number of medications for his serious mental

14   illnesses, including lithium, Zoloft, Adderall, and lorazepam.

15          56.     From these prescriptions alone, any medical professional exercising his or her

16   professional judgment would have inferred that Michael was seriously mentally ill. See Mraz v.

17   Astrue, No. 07-2672, 2008 WL 2561878, at *2 (N.D. Cal. June 26, 2008) (“Lithium is a well-

18   established treatment for mania in bipolar disorder.”); Hamlin v. Colvin, No. 12-6369, 2013 WL

19   3708381, at *4 (C.D. Cal. July 12, 2013) (“Zoloft is a selective serotonin reuptake inhibitor used to

20   treat depression, obsessive-compulsive disorder, panic attacks, and social anxiety disorder.”); Hill

21   v. Ehrlich, No. 04-2562, 2005 WL 1220885, at *1 n.2 (D. Md. May 23, 2005) (“Adderall is a daily

22   extended-release, single-entity amphetamine indicated for the treatment of ADHD.”); Niewierski v.

23

24
     10
       U.S. DEP’T OF JUSTICE, CIVIL RIGHTS DIVISION, FINDINGS OF THE CIVIL RIGHTS DIVISION’S INVESTIGATION OF
25   CONDITIONS AT THE KING COUNTY CORRECTIONAL FACILITY 23 (2007).
     COMPLAINT - 14                                                              Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Mailing: P.O. Box 15146
                                                                                Seattle, WA 98115
                                                                                (206) 557-7509
                   Prescriber Name and contact information: Dr. Suh 425-822-8153

                  Case
                  Source: 2:20-cv-00855-TL
                          Safeway          Document 1 Filed 06/04/20 Page 15 of 35
                  Medication Name: Addera/1
                  Dose and Frequency: 20 mg take 112-1bid
                  Reason Prescribed: none given
                  Date Last Dispensed: 5-9-17
 1   Astrue,    737  F. Supp. 2d 459, 465 n.8 (W.D. Pa. 2010) (“Lorazepam
                  Quantity Last Dispensed: 1 mo supply
                                                                                                    is used to treat anxiety or
                  Prescriber Name and contact information: Dr. Suh 425-822-8153
 2   anxiety associated with symptoms of depression.”).
                  TC call to Dr. Suh to clarify lithium and Zoloft dose. Per Dr. Suh, pt has diagnosis Bipolar Disorder and should
 3             57.be prescribed:·
                        Defendant Lisa Peterson, ARNP, conferred with Dr. Suh, who confirmed that
                  Lithium 300mg BID
                  Zoloft 150mg QD
 4   Michael had been prescribed these medications. Peterson ordered the Lithium and Zoloft, but not
                Pt also has histor;-of taking:
                Depakote 750mg OHS
 5   the   Adderall or lorazepam
                Vraylar 1.5mg BID       “per [Jail     Health Services] policies.” Defendant Peterson also took no
                  Based on review of the chart, the following action is taken regarding the patient's medication needs: Order
 6   interest inlithium
                  the documentation
                        and Zoloft. Adderall of
                                              andMichael’s   suicidality
                                                  lorazepam not            earlier
                                                                continued per       that day,
                                                                              JHS policies;       instead
                                                                                            lorazepam  dose recommending
                                                                                                             is PRN and below as
                  dose that would require benzo taper. Reverse kite to pt.
 7   follows:     Based on review of the chart, the following action is taken regarding the patient's psychiatric follow-up: Psych
                  P2 in 30 days.
 8
     Michael’s “follow-up” was scheduled for July 12, 2017—a week after his death. Defendant
 9
     Peterson did not evaluate or assess Michael.
10                   Electronically Signed by Lisa Peterson, ARNP at 6/13/2017 3:16 PM

               58.      On June 14, 2017, Defendant Kilbourne spoke with the DMHP mental health
11                Ordered Meds

     provider wholithium
                     relayed  to him information about Michael’s
                         300 mg capsule (Discontinued)
                                                          Disp
                                                          360 Cap
                                                                  violent
                                                                     Refills
                                                                     0
                                                                             outburst
                                                                                 Start
                                                                                       just two 7/7/2017
                                                                                 6/13/2017
                                                                                                 days earlier,
                                                                                                End

12                    Take 1 Cap by mouth 2 (two) times daily - oral
     Judge Gehlsen’s Order for DMHP evaluation, and Michael’s obviously compromised mental state.
                 Notes to Pharmacy: SD (Single Dose), Duration: 180 days
                 Reason for Discontinue: Therapy completed/Not needed
13                   sertraline (ZOLOFT) 50 mg tablet (Discontinued)         540 Tab     0           6/13/2017        7/7/2017
     This was news    toKing
              Printed at Defendant     Kilbourne—he
                             County Health                  was not aware of any DMHP referral. He looked
                                           Department [206-263-8247]                                 Page 13for
14
     one in Michael’s medical chart, and when he found no DMHP referral there he took no further
15
     action to either ensure that Michal was evaluated by a DMHP or to ensure Michael’s safety given
16
     the disturbing information relayed to him by the DMHP. This response by Defendant Kilbourne—
17
     or, more accurately, a lack of any response at all—fell far below the applicable standard of care and
18
     exhibits a failure to exercise any professional judgement at all.
19
               59.      On June 21, 2017, Michael requested treatment for his serious mental illness that the
20
     Lithium and Zoloft were not addressing. The next day, Michael met with Defendant Sanders and
21
     also disclosed his recent TBI, and requested to be evaluated by a mental health provider. Defendant
22
     Sanders reviewed Michael’s chart, assed him as having a “Hx of mental illness,” and made “[n]o
23
     additional treatment plan changes.”
24

25
     COMPLAINT - 15                                                                                Galanda Broadman PLLC
                                                                                                   8606 35th Avenue NE, Ste. L1
                                                                                                   Mailing: P.O. Box 15146
                                                                                                   Seattle, WA 98115
                                                                                                   (206) 557-7509
                 Case 2:20-cv-00855-TL Document 1 Filed 06/04/20 Page 16 of 35


 1            60.      Like the other medical and mental health providers before him, Defendant Sanders

 2   took no interest in the documentation of Michael’s TBI, serious mental illness, need for prescribed

 3   medication (Adderall and lorazepam) or earlier vow to commit suicide in the Jail.

 4            61.      On June 24, 2017, at approximately 12:08 p.m., Michael reported to Defendant

 5   Sueanne Brent, RN, that, again, Lithium and Zoloft were not addressing his serious mental illnesses.

 6   Michael “request[ed] to have [a] psych appt,” pleaded for some changes to his medication or some

 7   semblance of a “plan of care,” and informed Defendant Brent that he was going through a divorce.

 8            62.      Defendant Brent discussed “3 levels of psych housing” with Michael and told him

 9   to kite “if s/sx get worse” and that he needed to wait for his “follow-up” appointment scheduled for

10   July 12, 2017, before he could receive any psychiatric care.11

11            63.      Like the other medical and mental health providers before her, Defendant Brent took

12   no interest in the lack of prescribed medication (Adderall, and lorazepam), Michael’s TBI, or the

13   documentation of Michael’s earlier vow to commit suicide in the Jail.

14            64.      Benzodiazepine withdrawal (including lorazepam) can be lethal. When a lorazepam

15   user stops using the drug “cold-turkey,” significant changes in brain chemistry rapidly occur. One

16   common effect of withdrawal from lorazepam is a significantly increased suicide risk.12 This is

17   well-known by corrections and medical professionals exercising their professional judgment.

18            65.      The next note in Michael’s medical chart is on July 3, 2017, at 8:02 p.m.:

19

20

21

22
     11
        “A ‘kite’ is a means of internal communication often used by prisons and state hospitals. Kites are essentially notes
23   that patients and prisoners write to prison officials.” Bennett v. Turner, No. 15-4197, 2015 WL 9165926, at *7 n.3
     (N.D. Iowa Dec. 16, 2015).
24   12
        Tyler J. Dodds, Prescribed Benzodiazepines and Suicide Risk: A Review of the Literature, 19 PRIM. CARE
     COMPANION CNS DISORD. e1 (2017); Douglas Turkington & Paul Gill, Mania Induced by Lorazepam Withdrawal, 17
25   J. AFFECTIVE DISORDER. 93 (1989).
     COMPLAINT - 16                                                                        Galanda Broadman PLLC
                                                                                            8606 35th Avenue NE, Ste. L1
                                                                                            Mailing: P.O. Box 15146
                                                                                            Seattle, WA 98115
                                                                                            (206) 557-7509
             Med Stat
             Additional comments: hanging
                  Caseby2:20-cv-00855-TL
            Last edited                            Document
                          Jenise Temko, RN on 7/3/2017 8:03 PM. 1   Filed
                                                                (History)   06/04/20 Page 17 of 35

          Progress Notes
 1        Jenise Temko RN at 7/3/2017 8:02 PM
             Status: Signed

 2          Medical status 3 called at 1840 after pt found with ligature tied around his neck
            Pt unresponsive, no pulse. Medics notified
 3          1845 - CPR Begun, airway suctioned, pt bagged - pt skin dus.'<ycolored , unresponsive , blood to face ?
            From nose
            1844 - AED applied, no shock advised
 4                CPR resumed,
                  AED no shock advised
 5          1850- medics arrive, They assume care

                66.      Throughout the intake and screening process, there were multiple opportunities to
 6
     get Michael the psychiatric care that he needed, but each provider down the chain completely
 7          Electronically Signed by Jenise Temko, RN at 7/3/2017 8:12 PM
     dropped the ball. Any jailer or medical provider exercising his or her professional judgment would
 8
     view  any indication
        Encounter          of suicidal intent—especially a violent outburst, by a detainee with known
                  Information
 9
       Vitals
     serious mental
          Wong        illness,
               Baker Pain       making
                          Scale 0- 5   very specific suicidal expressions—as more than enough to
10              No pain information on file
     immediately make a referral to psychiatric housing to receive close monitoring, evaluation, and
11      Med and Imm Admins
          Immunizations Administered on Date of Encounter - 7/3/2017
     treatment.   Yet, despite his known serious mental
             No immunizations on file.
                                                                       illnesses, Michael did not even receive a
12
     psychiatric evaluation.
13     LOS and Disposition
         Level of Service
                67.      An adequate psychiatric assessment—which was apparently scheduled for July 12,
14     Printed at King County Health Department [206-263-824 7]                                                 Page 43

     2017; nearly a month after intake and screening; nearly a month after Michael vowed in an open
15
     King County court to commit suicide in the Jail—would not simply ask the detainee if he or she is
16
     suicidal and take them at their word, as Defendants here did.
17
                68.      Rather, an adequate assessment would take into account both acute and chronic
18
     suicide risk factors and arrive at a standardized suicide risk score. This would be based upon not
19
     only self-report, but any available collateral sources as well (medical and mental health records).
20
     Known collateral sources would be obtained and the inmate’s assessment would be updated, as
21
     appropriate, as soon collateral sources can be reviewed.
22
     C.         EVENTS OF JULY 3, 2017
23
                69.      From the day that Michael arrived at the Jail, it was obvious that he was depressed
24
     and in the throes of a perilous mental state.
25
     COMPLAINT - 17                                                                    Galanda Broadman PLLC
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 1          70.     Fellow inmates interviewed after Michael’s death testified that “something wrong

 2   with him”; he was “not well”; he was “very depressed,” “stressed out,” “constantly pacing,” and

 3   “always bummed out.” Every inmate that genuinely interacted with Michael noticed it. Every

 4   jailer exercising his or her professional judgment would have noticed it. Because, again, it was

 5   obvious.

 6          71.     At roughly 4:40 p.m. on July 3, 2017, the inmates in Michael’s cell were “racked

 7   in” and a cell check was conducted. This is the last time that any type of wellness or safety check

 8   was accomplished.

 9          72.     Michael was allowed out of his cell for the evening because he was on cleaning duty

10   and, as a reward for fulfilling this duty inmates are allowed an hour or so out with free reign of the

11   television. Aside from making a phone call, though, Michael did not come out of his cell.

12          73.     At approximately 5:43 p.m., Michael spoke on the phone with his mother, Maria,

13   for just over four minutes. While on the phone Michael expressed that he was going to commit

14   suicide: “I’m done, I’m just done, . . . talk to you on the other side, love you.” Michael’s final

15   words to his mother were, “I’m doing what I need to do.”

16          74.     This conversation was being recorded and was heard by jailers and inmates who

17   reported it to jailers, but no steps to intervene in Michael’s suicide were taken.

18          75.     Michel then went and locked himself in his cell, where he was housed alone.

19          76.     At 6:40 p.m., inmates discovered Michael hanging in his room from a ligature. His

20   face was purple, but he was still breathing.

21          77.     The inmates immediately notified Defendant Allen, who allegedly thought the

22   inmates were “joking” and, according to one inmate’s account, “just walked away.”

23          78.     It was not until a second and third time that Defendant Allen was informed of

24   Michael’s suicide attempt that he took it seriously.

25
     COMPLAINT - 18                                                            Galanda Broadman PLLC
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 1           79.     According to one inmate:

 2           [Defendant Allen] wasn’t even upstairs yet and I ran back and I was like, “Hey,
             bro. Hurry up. He’s purple. Like, what are you doing?” And then he, like, he, like,
 3           looked at us and then, like, there were still about, like, 30 seconds, and then, like, I
             ran and I was looking at 4 House and 5 House and they racked back, so people
 4           racked back. . . . So the guard took his sweet time. H-he took like two minutes to
             get there.
 5
             80.     In fact, much more time passed. Defendant Allen admitted in a subsequent interview
 6
     that six crucial minutes had passed from the time he was first notified that Michael was hanging
 7
     and when he finally entered the day room area.
 8
             81.     According to Seattle Police Department’s Case Investigation Report:
 9
             At approximately 1840 hours CO Allen said the inmate in 2 house notified him that
10           Clinard was not moving. CO Allen said that he initially thought the inmates in
             Upper A were joking with him. At approximately 1846 hours CO Allen went up to
11           the Upper A, day room area and subsequently to 3 house (Clinard’s cell) and saw
             that he was indeed not moving and there was blood on the floor.
12
             82.     Once he finally arrived at Upper A, instead of immediately attending to Michael,
13
     Defendant Allen made sure that all of the other inmates got in their rooms and that he had all of the
14
     doors closed.
15
             83.     According to Defendant Allen himself, this “took ‘em a minute to do that because
16
     they were all middling around because they were all curious what’s going on.” More crucial
17
     minutes passed.
18
             84.     Defendant Allen then “walked in” Michael’s cell and asked his supine body, purple
19
     face and head, “What’s up, man? What’s goin’ on?” When Michael didn’t answer, Defendant Allen
20
     yelled “Hey!” to get Michael’s attention. When that didn’t work, Defendant Allen “called a Code
21
     3 over the radio”—which, according to Defendant Allen himself, “means somebody is either dying,
22
     died, or is in the process of killing himself.”
23
             85.     Instead of attempting to remove the ligature or provide lifesaving aid, though,
24
     Defendant Allen just stood there waiting for a response to his Code 3 call. In Defendant Allen’s
25
     COMPLAINT - 19                                                              Galanda Broadman PLLC
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 1   own words: “I thought he was either dead or unconscious. . . . I didn’t touch him.” More crucial

 2   minutes passed.

 3           86.      Officers Currier and Spicer were the first to respond to Defendant Allen’s call. Both

 4   Officers Currier and Spicer fumbled with the cloth around Michael’s neck, without success. More

 5   crucial minutes passed.

 6           87.      Officer Currier yelled out for a “rescue knife,” which another Officer, Officer

 7   Awasthi, retrieved from a secured location on the other end of the facility. More crucial minutes

 8   passed. The knife was then handed off to Officer Julius, who ran it to Officer Currier, who was

 9   finally able to cut it off.

10           88.      Michael was then removed from his cell to the “day room,” where CPR was

11                                     King County Medical Examiner
     administered by King County officers.
                                                   AUTOPSY REPORT
12           89.      Michael was pronounced dead by medical providers at 7:10 p.m.
                                                                            Michael Travis CLINARD
13           90.      On July 26, 2017, the King County Medical         Examiner concluded
                                                                                      KCMEas  follows:
                                                                                            17~1318
                                                                                             Page 1
14                                            PATHOLOGICAL DIAGNOSES:

15                         1. Ligature strangulation.
                                 a. Ligature furrow encircling neck.
                                 b. Facial skin and conjunctiva! petechiae.
16
                           2. Attempted resuscitation with endotracheal intubation.
17
                                                         OPINION:
18
                    The cause of death of this 38-year-old man found in his jail cell with a ligature
                    made from a torn bed sheet wrapped tightly about his neck is asphyxia due to
19                  ligature compression of neck. The manner of death is suicide.

20   D.      KING COUNTY POLICY AND ESTABLISHED PRACTICE – MONELL, SUPERVISORY, AND
             POLICYMAKING LIABILITY
21
             91.      The death by suicide of Michael was tragic and could have been prevented by
22

23

24
                   R~~:/:.
     standard approaches to medical and mental health care management.

                   Chief Medical Examiner


25
     COMPLAINT - 20Datett ,;}_()/J                                                   Galanda Broadman PLLC
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 1          92.     The policies, established procedures, and protocols in place at the Jail—maintained

 2   vis-à-vis its Supervisory and Policymaking Defendants—put Michael and all other similarly

 3   situated patients at an increased risk of serious harm and death.

 4          93.     That these policies, established procedures, and protocols would put similarly

 5   situated patients at an increased risk of serious harm and death would be obvious to any medical or

 6   mental health professional exercising his or her professional judgment.

 7          94.     King County—vis-à-vis its Supervisory and Policymaking Defendants—also failed

 8   to adequately train its employees, resulting in a condition that put Michael and all other similarly

 9   situated patients at an increased risk of serious harm and death.

10          95.     That this failure to train would put similarly-situated patients at an increased risk of

11   serious harm and death would be obvious to any medical or mental health professional exercising

12   his or her professional judgment.

13          96.     The scope of a medical or mental health provider’s duty to a patient is determined

14   by the standard of care. Here, the jailers and medical and mental health staff were indifferent to the

15   medical needs of Michael, and that indifference was indicative of a pattern of following below the

16   standard of care in dealing with the needs of patients.

17          97.     Michael would have not died at the time and in the manner that he did, had jailers

18   and medical and mental health staff not been indifferent to his needs.

19          98.     Jailers and medical and mental health staff’s indifference to Michael’s serious

20   medical and mental health needs was ratified by Supervisory and Policymaking Defendants.

21          99.     Despite knowledge of Michael’s serious medical needs, jailers and medical and

22   mental health staff failed to administer and attend to Michael in the evening of July 3, 2017. As a

23   result, Michael was allowed to successfully take his own life.

24

25
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 1             100.   Defendant Allen did not have a rescue tool on his person when he found Michael

 2   with cloth around his neck not breathing. Officers Currier and Spicer did not have a rescue tool

 3   either.

 4             101.   Hanging is the most common form of successful suicide in jails. This is well-known

 5   and was in fact known by King County and its Policymaking and Supervising Defendants.

 6             102.   Reasonable and prudent jailers and jail administrators possess or make immediately

 7   available for their subordinates relatively inexpensive rescue tools:

 8

 9

10

11

12

13             103.   Defendant Allen and Officers Currier and Spicer’s failure to possess this type of tool

14   and King County's failure to make this type pf tool available to them, constitutes negligence and

15   deliberate indifference.

16             104.   Defendant Allen or Officers Currier and Spicer’s possession of this tool would have

17   prevented Michael’s extended period of suffocation and saved his life.

18             105.   All of the acts and omissions taken in regard to the care and custody of Michael were

19   in accordance with King County’s established practices and/or were ratified by the Policymaking

20   and Supervisory Defendants.

21             106.   It is a common and widespread practice at the Jail to ignore information related to

22   suicidality and healthcare in a measured attempt to avoid liability in a deliberate indifference action,

23   by claiming a lack of knowledge.

24

25
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 1          107.    King County has a policy of placing inmates’ cells without a cellmate (“solitary

 2   confinement”), without a mental health assessment, regardless of whether the inmate’s healthcare

 3   or mental healthcare needs contraindicated such confinement.

 4          108.    Reasonable and prudent jailers and jail administrators also do not utilize cloth-type

 5   sheets, which inmates can easily hang themselves with. King County and its Policymaking and

 6   Supervisory Defendants usage of cloth-type sheets, in the face of other suicides wherein cloth-type

 7   sheets were utilized, constitutes negligence and deliberate indifference.

 8          109.    Solitary confinement and similar types of confinement are well known by prudent

 9   jail administrators to have exceedingly injurious effects on an inmate's mental health-which is why

10   a policy of housing mentally ill inmates in segregation without first adequately assessing risks to

11   an inmate's mental health is never allowed; it poses an unnecessary risk of harm to inmates.

12          110.    King County and its Policymaking and Supervisory Defendants were also negligent

13   and deliberately indifferent when they failed to adequately train individual Defendants. These

14   individual Defendants failed to perform their duties as described in this Complaint due to

15   inadequate training. King County and its Policymaking and Supervisory Defendants knew that

16   King County's training inadequately instructed its employees, but did nothing to change this policy.

17          111.    King County and its Policymaking and Supervisory Defendants failed to adequately

18   train officers and employees in suicide prevention.

19          112.    King County and its Policymaking and Supervisory Defendants failed to train

20   officers and employees in suicide prevention policies and procedures.

21          113.    King County and its Policymaking and Supervisory Defendants failed to train

22   officers and employees to properly monitor and to protect inmates.

23          114.    King County and its Policymaking and Supervisory Defendants failed to train

24   officers and employees to properly identify and monitor at-risk inmates.

25
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 1          115.       King County and its Policymaking and Supervisory Defendants failed to train

 2   officers and employees in in-take procedure.

 3          116.       King County and its Policymaking and Supervisory Defendants failed to enforce

 4   policies and procedures for suicide prevention, including, but not limited to, policies and procedures

 5   for prisoner in-take and monitoring of prisoners.

 6          117.       King County and its Policymaking and Supervisory Defendants failed to enforce the

 7   aforesaid policies and procedures by disciplining officers and employees or by other means.

 8          118.       King County and its Policymaking and Supervisory Defendants caused, permitted,

 9   and allowed a custom and practice of continued and persistent deviations from policies and

10   procedures.

11          119.       King County and its Policymaking and Supervisory Defendants maintained

12   inadequate suicide prevention policies and procedures which, failed to identify and/or monitor at-

13   risk detainees.

14          120.       King County and its Policymaking and Supervisory Defendants maintained

15   inadequate in-take policies and procedures, which failed to identify at-risk detainees and failed to

16   identify and monitor prescription medication and treatment.

17          121.       King County and its Policymaking and Supervisory Defendants maintained

18   inadequate monitoring and safety check systems.

19          122.       King County and its Policymaking and Supervisory Defendants maintained a policy

20   of placing inmates into solitary confinement with ready means to commit acts of self-harm, without

21   adequate review by a mental health provider prior to such a placement.

22          123.       King County and its Policymaking and Supervisory Defendants failed to create

23   systems of information sharing, communication, and clearly delineated roles and lines of authority

24

25
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 1   for King County Jail staff, officers bringing in detainees from the street or other facilities, and/or

 2   courts.

 3             124.   King County and its Policymaking and Supervisory Defendants failed to provide

 4   sufficient resources to provide for the necessary medical care for mentally ill inmates.

 5             125.   King County and its Policymaking and Supervisory Defendants maintained a policy

 6   of using cursory mental health and suicide screening that essentially amounted to no screening at

 7   all for incoming inmates.

 8             126.   King County and its Policymaking and Supervisory Defendants maintained a policy

 9   of not regularly monitoring inmates.

10             127.   King County and its Policymaking and Supervisory Defendants maintained a policy

11   of ignoring and refusing to implement relatively inexpensive suicide prevention measures.

12             128.   King County and its Policymaking and Supervisory Defendants maintained a policy

13   of refusing to allow inmates to obtain medically necessary prescribed medication (here, Adderall

14   and lorazepam).

15             129.   King County and its Policymaking and Supervisory Defendants maintained no

16   established protocol—written or unwritten—regarding the monitoring or medical treatment of

17   benzodiazepine (lorazepam) withdrawal syndrome, and otherwise refuses to acknowledge the well-

18   known dangers attendant to benzodiazepine (lorazepam) withdrawal syndrome, including increased

19   suicide risk. Cf. Aus v. Salt Lake Cty., No. 16-0266, 2019 WL 3021217, at *8 (D. Utah Jul. 10,

20   2019).

21             130.   King County and its Policymaking and Supervisory Defendants maintained a policy

22   of permitting employees to provide clearly inadequate suicide prevention care.

23             131.   King County and its Policymaking and Supervisory Defendants have implemented

24   a custom of improperly indemnifying, and of conspiring to indemnify jailers, for punitive damages

25
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 1   assessed against those jailers by juries in civil rights cases, and this practice was a moving force

 2   that caused the violations of Michael’s rights, as alleged herein.

 3           132.    King County’s official policies remained static from 2015 to 2017. This, in and of

 4   itself created a significant risk of serious harm. The danger in lack of a more frequent review of

 5   policies is that they are not kept current with the emerging body of knowledge that guide most

 6   competent corrections officials. Whether standards have changed as a result of litigation or due to

 7   advancements in correctional knowledge, policies without frequent review are behind the times and

 8   inadequate to provide sufficient guidance to facility staff, as is the case with the policies of the Jail.

 9           133.    A death in a correctional facility is a very serious incident. A death by suicide or

10   diabetes complications typically causes an incident review to occur which includes a complete

11   accounting of what happened, what lessons can be learned from the event and what changes need

12   to be made in order decrease the likelihood that it occurs again. Had King County officials had an

13   adequate policy in place to review previous incidents of deaths by suicide, accommodations could

14   have been made that would have kept Michael safe and alive.

15           134.    Nothing is more fundamental in corrections work than regular safety checks to make

16   sure the inmates are safe. King County and its Policymaking and Supervisory Defendants failed to

17   have the appropriate policy in place in this regard. Had King County and its Policymaking and

18   Supervisory Defendants kept their policies updated to reflect common correctional practices and

19   standards, Michael’s death would have been prevented.

20           135.    Each of the above policies and established practices amounts to negligence and

21   deliberate indifference to the known and/or obvious risk of suicide and serious medical and safety

22   needs of at-risk detainees, including Michael.

23           136.    King County employees and subcontractors deliberately did not comply with formal

24   policies and national standards, which evidences their deliberate indifference and negligence. See

25
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 1   Salter v. Booker, No. 12-0174, 2016 WL 3645196, at *12 (S.D. Ala. June 29, 2016) (“Defendants

 2   acted with deliberate indifference when they failed to enforce or follow the written jail policies and

 3   procedures put in place to protect suicidal prisoners.”).

 4          137.    Defendants are not even trying; they have been negligent, grossly negligent, and

 5   have showed deliberate indifference to the medical and safety needs of the inmates at the Jail. This

 6   includes, again, failing to have and follow proper training, policies, and procedures for the care and

 7   treatment of people in the Jail. It also includes a cold-hearted attitude on the part of staff and

 8   subcontractors, who ignore medical and safety harms as they present and who turn a blind eye and

 9   a deaf ear to people who have serious medical and safety needs.

10          138.    Each and every individually named Defendant had knowledge that a substantial risk

11   of serious harm existed as to Michael’s health and safety. King County and its Policymaking and

12   Supervisory Defendants had knowledge that their policies, customs, and/or protocols created a

13   substantial risk of serious harm as to Michael’s health and safety. But even if Defendants did not

14   have knowledge of the risk of harm, the risk created by their policies, customs, and/or protocols-

15   and lack thereof/lack of training thereon/lack of funding to implement-was obvious in light of

16   reason and the basic general knowledge that Defendants are presumed to have obtained regarding

17   the type of deprivation.

18          139.    The acts and omissions caused by Defendants through their policies, practices,

19   customs-including inadequate staffing, training, preparation, procedures, supervision, and

20   discipline-were a proximate cause of Michael’s pain, suffering, death, and Plaintiffs’ damages.

21   F.     DAMAGES

22          140.    Michael was 38 years old at the time of his death. He left behind a loving wife and

23   three lovely children.

24

25
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 1          141.    The aforesaid acts and omissions of Defendants deprived Michael of his right to be

 2   free from cruel and punishment and to due process of law as guaranteed by the Fourteenth

 3   Amendment of the United States Constitution; directly caused and/or directly contributed to his

 4   pain, suffering, and a general decline of his quality of life; directly caused and/or directly

 5   contributed to cause his death; directly caused and/or directly contributed to cause his family to

 6   suffer loss of services, companionship, comfort, instruction, guidance, counsel, training, and

 7   support; and directly caused and/or directly contributed to cause his family to suffer pecuniary

 8   losses, including but not limited to medical and funeral expenses.

 9          142.    Prior to death, Michael suffered extreme physical and mental pain, terror,

10   humiliation, anxiety, suffering, and emotional distress.

11          143.    Michael’s death was completely unnecessary and could have been easily prevented

12   via provision of even the most basic medical care and treatment.

13                                              V. CLAIMS

14   A.     FIRST CAUSE OF ACTION – NEGLIGENCE—ALL DEFENDANTS

15          144.    Defendants had a duty to care for inmates and provide reasonable safety and medical

16   and psychiatric care.

17          145.    This duty extends to foreseeable self-inflicted harms and includes protecting inmates

18   against suicide and identifying at-risk inmates.

19          146.    This duty is an affirmative one under both Washington State and federal law because

20   prisoners, by virtue of incarceration, are unable to obtain medical and psychiatric care for

21   themselves.

22          147.    Defendants breached this duty, and were negligent, when they failed to have and

23   follow proper training, policies, and procedures on the assessment of persons with apparent medical

24   and psychiatric needs.

25
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 1          148.    Defendants breached this duty, and were negligent, when they failed pass on vital

 2   lifesaving information from one institution or person to another.

 3          149.    Defendants breached that duty, and were negligent, when they failed to adequately

 4   treat Michael’s medical and psychiatric needs. Indeed, because Michael’s medical and psychiatric

 5   needs were entirely ignored, Defendants were grossly negligent.

 6          150.    Defendants breached that duty, and were negligent, when they failed to have and

 7   follow proper training, policies, and procedures on the provision of reasonable and necessary

 8   medical and psychiatric care, treatment of inmates, and the passing on of information.

 9          151.    Defendants breached that duty, and were negligent, when they failed to ensure

10   adequate and proper staffing at the Jail.

11          152.    Defendants breached that duty, and were negligent, when they failed to ensure that

12   Michael was properly supervised and/or that cell checks were conducted in a safe, timely, and

13   consistent manner.

14          153.    Defendants breached that duty, and were negligent, when they failed to ensure that

15   Michael received prescribed medication.

16          154.    Defendants breached that duty, and were negligent, when they ignored notification

17   of Michael’s serious mental health condition and suicidality.

18          155.    Defendants breached that duty, and were negligent, when they failed to properly

19   assess and treat Michael prior to his death.

20          156.    As a direct and proximate result of the breaches, failures, and negligence of

21   Defendants, as described above and in other respects as well, Michael was allowed to successfully

22   take his own life.

23          157.    Michael suffered unimaginable pre-death pain, suffering, embarrassment, and terror.

24

25
     COMPLAINT - 29                                                         Galanda Broadman PLLC
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 1           158.   As a direct and proximate result of the breaches, failures, and negligence of

 2   Defendants, as described above and in other respects as well, Plaintiffs have incurred and will

 3   continue to incur economic and noneconomic damages in an amount to be determined at trial.

 4           159.   As a direct and proximate result of the negligence of Defendants, Michael’s wife

 5   and three children have suffered the loss of familial association with Michael. Plaintiffs have

 6   suffered and continue to suffer extreme grief and harm due to mental and emotional distress as a

 7   result of Michael’s wrongful death.

 8   B.      SECOND CAUSE OF ACTION – 42 U.S.C. § 1983—KING COUNTY AND ALL INDIVIDUALLY
             NAMED DEFENDANTS
 9
             160.   The acts and failure to act described above were done under color of law and are in
10
     violation of 42 U.S.C. § 1983, depriving Plaintiffs of their civil rights.
11
             161.   At the time Michael was detained by King County, it was clearly established in the
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     law that the Fourteenth Amendment imposes a duty on jail officials to provide humane conditions
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     of confinement, including adequate medical and mental health care, and to take reasonable
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     measures to guarantee the safety of the inmates, including from self-harm.
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             162.   Being subjected to unnecessary physical and mental pain and suffering is simply not
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     part of the penalty that criminal offenders pay for their offenses against society. As a result,
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     municipalities and Jail officials are liable if they know that an inmate or inmates face a substantial
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     risk of serious harm and callously disregards that risk by failing to take reasonable measures to
19
     abate it.
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             163.   Here, Defendants knew that Michael faced a substantial risk of suicide, yet callously
21
     disregarded that risk by failing to take reasonable measures to abate it.
22
             164.   Here, Defendants knew that Michael faced a substantial risk of harm or death due to
23
     his serious mental health condition, yet callously disregarded that risk by failing to take reasonable
24
     measures to abate it.
25
     COMPLAINT - 30                                                               Galanda Broadman PLLC
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 1           165.    Having an inmate in custody creates a duty of care that must include enough

 2   attention to mental health concerns that inmates with obvious symptoms receive medical attention.

 3   Defendants had numerous opportunities to meet their responsibilities to help Michael, but no one

 4   did. One cannot avoid responsibility by putting one’s head in the sand.

 5           166.    Here, King County and its Policymaking and Supervising Defendants knew of and

 6   callously disregarded the excessive risk to inmate health and safety caused by King County’s

 7   inadequate formal and informal policies, including a lack of training, funding, and supervision.

 8           167.    King County and its Policymaking and Supervising Defendants knew of this

 9   excessive risk to inmate health and safety because it was obvious and because numerous other

10   inmates had been injured and/or killed as a result of these inadequacies in the past.

11           168.    King County and its Policymaking and Supervising Defendants were responsible for

12   a policy, practice, or custom of maintaining a longstanding constitutionally deficient safety and

13   medical and mental health care, and training thereon, which placed inmates like Michael at

14   substantial risk.

15           169.    King County—at a bare minimum vis-à-vis its Department of Community Human

16   Services—knew of Judge Gehlsen’s Order for DMHP evaluation and Michael’s suicidal outburst,

17   yet ignored this information and the risk to Michael’s life that it represented. This was, again, due

18   to King County’s policy of failing to pass on vital, lifesaving inmate information to those persons

19   on the ground who are able to provide necessary healthcare care.

20           170.    There was little to no supervision of Michael and inmates like him because King

21   County and its Policymaking and Supervising Defendants maintained a known policy and custom

22   of understaffing—leaving one jailer responsible for the care and wellbeing of over ninety inmates

23   at a time. That this ratio would result in serious injury or death would have been obvious to any

24   corrections management official exercising his or her professional judgment. According to the U.S.

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 1   Department of Justice’s Bureau of Justice Statistics, for example, the average jailer-inmate ratio in

 2   the United States around the time of Michael’s death was one to four.13

 3           171.     While it appears that King County did have a suicide prevention policy, King

 4   County's actual policy was to ignore the written policy—written policy intended to protect inmates

 5   from the foreseeable consequences of not following the written policy, including death by suicide.

 6           172.     King County also has an impermissible policy of using cursory mental health

 7   screenings and "check-box determinations" to determine that mentally ill inmates are not a danger

 8   to themselves.

 9           173.     King County had an unwritten policy of understaffing and indifference to inmate

10   supervision that was maintained with deliberate indifference. King County and its Policymaking

11   and Supervising Defendants know that the Jail is understaffed and that their employees often have

12   trouble completing all of their duties as a result of this understaffing. Yet these Defendants failed

13   to take any steps to correct these inadequacies.

14           174.     The Defendants’ lack of clear delineation of authority and inadequate means of

15   communication with respect to assessing risks of suicide was an additional policy that caused jailers'

16   failure to prevent Michael’s pain, suffering, and death. In essence, there is a "who's on first"

17   problem at the Jail where an established practice of non-communication to one another or amongst

18   themselves in regard to inmate suicidality and safety has been implemented. Exhibit A: The court

19   order under which Michael was being detained included a mandatory evaluation for suicidality, due

20   to his express statements in open court that he would kill himself in jail, yet nobody responsible for

21   Michael’s care seemed to be aware of this vital information—or if they were, they chose not to

22   acknowledge it. Michael was never evaluated by a DMHP, as Judge Gehlsen had ordered.

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     13
25    ZHEN ZENG, JAIL INMATES IN 2016 (2018), available at https://www.bjs.gov/content/pub/pdf/ji16.pdf.
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 1          175.    Defendants were subjectively aware that Michael was suicidal, or at a minimum in

 2   the midst of a mental health crisis. From this evidence, a reasonable jailer and/or healthcare

 3   provider would have been compelled to infer that a substantial risk of serious harm existed. Indeed,

 4   Defendants did infer that a substantial risk of serious harm existed, but failed to take any steps to

 5   alleviate this risk. And Michael died as a result.

 6          176.    Defendants had a policy, custom, and practice of denying treatment, such as

 7   prescribed medication; these policies, customs, and practices posed a substantial risk of serious

 8   harm to the inmates in the jail, including Michael, and Defendants knew that its policies, customs,

 9   and practices posed this risk.

10          177.    Defendants knew of a number of previous suicides and incidences of self-harm, yet

11   deliberately did nothing to provide its personnel with adequate training to prevent future suicides

12   and incidences of self-harm. Instead, Defendants acquiesced in a long-standing policy and custom

13   of inaction.

14          178.    Indeed, even without the previous in-custody deaths, it was obvious that a total lack

15   of training to appropriately address mentally ill inmates would result in the harm caused here. King

16   County and its Policymaking and Supervising Defendants were expressly informed that its official

17   policies were being ignored and that its unofficial or de facto policies would result in inmate deaths,

18   yet deliberately did nothing to address these unofficial or de facto policies.

19          179.    King County had numerous opportunities to obtain training to appropriately address

20   physically and mentally ill inmates, but knowingly and deliberately declined to obtain it.

21          180.    King County has consistently failed to attend to the serious medical needs of

22   inmates. King County and its Policymaking and Supervising Defendants knew that there were

23   successful suicides in recent years, and that there were relatively inexpensive prevention measures

24   available. Yet King County and its Policymaking and Supervising Defendants did not employ any

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 1   of these measures. In addition, these Defendants knew that its employees were not providing

 2   adequate suicide prevention care, but continued to employ them nonetheless.

 3           181.     As a direct and proximate result of the deliberate indifference of Defendants, as

 4   described above and in other respects as well, Michael died a terrible and easily preventable death.

 5   He suffered pre-death pain, anxiety, and terror, before becoming asphyxiated, and leaving behind

 6   a loving wife and three children.

 7           182.     As a direct and proximate result of the deliberate indifference of Defendants,

 8   Plaintiffs—Michael’s wife, two daughters, and one son—have each suffered the loss of familial

 9   association with Michael, in violation of their Fourteenth Amendment rights. Plaintiffs, each of

10   them, have suffered and continue to suffer extreme grief and harm due to mental and emotional

11   distress as a result of Michael’s death.

12           183.     Defendants have shown reckless and callous disregard and indifference to inmates'

13   rights and safety, and are therefore subject to an award of punitive damages to deter such conduct

14   in the future.

15                                         VI.     JURY DEMAND

16           185.     Plaintiffs hereby demand a trial by jury.

17                                         VII.    AMENDMENTS

18           186.     Plaintiffs hereby reserves the right to amend this Compliant.

19                                       VIII. RELIEF REQUESTED

20           187.     Damages have been suffered by all Plaintiffs and to the extent any state law

21   limitations on such damages are purposed to exist, they are inconsistent with the compensatory,

22   remedial and/or punitive purposes of 42 U.S.C. § 1983, and therefore any such alleged state law

23   limitations must be disregarded in favor of permitting an award of the damages prayed for herein.

24           188.     WHEREFORE, Plaintiff requests a judgment against all Defendants:

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 1                 (a)     Fashioning an appropriate remedy and awarding economic and noneconomic

 2                         damages, including damages for pain, suffering, terror, loss of consortium,

 3                         and loss of familial relations, and loss of society and companionship pursuant

 4                         to 42 U.S.C. §§ 1983 and 1988, in an amount to be determined at trial;

 5                 (b)     Punitive damages;

 6                 (c)     Awarding reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988,

 7                         or as otherwise available under the law;

 8                 (d)     Declaring the defendants jointly and severally liable;

 9                 (e)     Awarding any and all applicable interest on the judgment; and

10                 (f)     Awarding such other and further relief as the Court deems just and proper.

11   Respectfully submitted this 4th day of June, 2020.

12                                                        GALANDA BROADMAN, PLLC

13                                                         s/Ryan D. Dreveskracht
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